277 F.3d 1146 (9th Cir. 2002)
    PALEPALE ULUAKI FUA FINAU, Petitioner,v.IMMIGRATION AND NATURALIZATION SERVICE; JOHN ASHCROFT,*  Attorney General, United States  Department of Justice,  Respondents.
    No. 00-70238
    UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
    Argued and Submitted July 12, 2001Filed October 31, 2001Amended January 18, 2002
    
      1
      NOTE: THE COURT HAS WITHDRAWN THIS OPINION. SEE ORDER OF FEBRUARY 22, 2002.
    
    